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                                                                                                                             JS-3
                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.            5:20-cr-00163-RGK

 Defendant           MIGUEL HERNANDEZ                                        Social Security No. 5         0   1   4
 akas:                                                                       (Last 4 digits)




                                                                                                                   MONTH   DAY      YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.     NOV      29      2021

  COUNSEL                                                             CALLIE STEELE, DFPD
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO               NOT
                                                                                                               CONTENDERE           GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Possession of Child Pornography, in violation of 18 USC 2252A(a)(5)(B), (b)(2), as charged in Count 3 of the Indictment
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of:

                                                         FORTY-TWO (42) MONTHS

        It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately. Any unpaid balance shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program.

        Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that
he is unable to pay and is not likely to become able to pay any fine.

      It is ordered that the defendant shall pay restitution in the total amount of $24,000 pursuant to 18 U.S.C. § 2259.
The amount of restitution ordered shall be paid as follows:

Victim                                          Amount

“Jenny”                                         $3,000
“John Doe 1”                                    $3,000
“John Doe 2”                                    $3,000
“John Doe 3”                                    $3,000
“John Doe 4”                                    $3,000
“John Doe 5”                                    $3,000
“Sarah”                                         $3,000
“Tara”                                          $3,000




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       If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless
another priority order or percentage payment is specified.

        Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant
to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after
release from custody, nominal monthly payments of at least $25 per month shall be made during the period of supervised
release. These payments shall begin 30 days after the commencement of supervision. Nominal restitution payments are
ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future payment
of the amount ordered.

       Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not
have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C.
§ 3612(g).

         The defendant shall comply with Second Amended General Order No. 20-04.

      Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Miguel
Hernandez, is hereby committed on Count 3 of the Indictment to the custody of the Bureau of Prisons for a term of FORTY-
TWO (42) MONTHS.

        The Court recommends that the Bureau of Prisons conduct a mental health evaluation of the defendant and provide
all necessary treatment.

    Upon release from imprisonment, the defendant shall be placed on supervised release for a term of TEN (10)
YEARS under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office
         and Second Amended General Order 20-04, including the conditions of probation and supervised release set forth
         in Section III of Second Amended General Order 20-04.

2.       During the period of community supervision, the defendant shall pay the special assessment and fine in
         accordance with this judgment's orders pertaining to such payment.

3.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

4.       The defendant shall submit the defendant's person, property, house, residence, vehicle, papers, computers, cell
         phones, other electronic communications or data storage devices or media, email accounts, social media accounts,
         cloud storage accounts, or other areas under the defendant’s control, to a search conducted by a United States
         Probation Officer or law enforcement officer. Failure to submit to a search may be grounds for revocation. The
         defendant shall warn any other occupants that the premises may be subject to searches pursuant to this condition.
         Any search pursuant to this condition will be conducted at a reasonable time and in a reasonable manner upon
         reasonable suspicion that the defendant has violated a condition of his supervision and that the areas to be searched
         contain evidence of this violation.




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5.       The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
         test within 15 days of release from custody and at least two periodic drug tests thereafter, not to exceed eight tests
         per month, as directed by the Probation Officer.

                     Computer
6.       The defendant shall possess and use only those computers and computer-related devices, screen usernames,
         passwords, email accounts, and internet service providers (ISPs), social media accounts, messaging applications
         and cloud storage accounts, that have been disclosed to the Probation Officer upon commencement of supervision.
         Any changes or additions are to be disclosed to the Probation Officer prior to the first use. Computers and
         computer-related devices include personal computers, internet appliances, electronic games, cellular telephones,
         digital storage media, and their peripheral equipment, that can access, or can be modified to access, the internet,
         electronic bulletin boards, and other computers.
7.       All computers, computer-related devices, and their peripheral equipment, used by the defendant shall be subject
         to search, seizure and computer monitoring. This shall not apply to items used at the employment site that are
         maintained and monitored by the employer.
8.       The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant
         shall pay the cost of the Computer Monitoring Program. If the defendant does not have the ability to pay, no
         payment shall be required.

                     Sex Offender Registration
9.       Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the registration
         current, in each jurisdiction where the defendant resides, is employed and is a student, pursuant to the registration
         procedures that have been established in each jurisdiction. When registering for the first time, the defendant shall
         also register in the jurisdiction in which the conviction occurred if different from the defendant's jurisdiction of
         residence. The defendant shall provide proof of registration to the Probation Officer within 48 hours of registration.

                     Sex Offender Treatment
10.      The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender treatment
         program, or any combination thereof as approved and directed by the Probation Officer. The defendant shall abide
         by all rules, requirements, and conditions of such program, including submission to risk assessment evaluations and
         physiological testing, such as polygraph and Abel testing. The defendant retains the right to invoke the Fifth
         Amendment.
11.      As directed by the Probation Officer, the defendant shall pay all or part of the costs of psychological counseling
         or psychiatric treatment, or a sex offender treatment program, or any combination thereof to the aftercare contractor
         during the period of community supervision. The defendant shall provide payment and proof of payment as directed
         by the Probation Officer. If the defendant has no ability to pay, no payment shall be required.

                     Access to Materials
12.      The defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings,
         videos, or video games, depicting or describing child pornography, as defined in 18 U.S.C. §2256(8), or sexually
         explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). This condition does not prohibit the defendant
         from possessing materials solely because they are necessary to, and used for, a collateral attack, nor does it prohibit
         the defendant from possessing materials prepared and used for the purposes of the defendant's Court-mandated sex
         offender treatment, when the defendant's treatment provider or the probation officer has approved of the defendant's
         possession of the material in advance.

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13.      The defendant shall not own, use or have access to the services of any commercial mail-receiving agency, nor shall
         the defendant open or maintain a post office box, without the prior written approval of the Probation Officer.

                     Contact with Others
14.      The defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools, playgrounds,
         youth centers, video arcade facilities, amusement and theme parks, or other places primarily used by persons under
         the age of 18, without the prior written authorization of the probation officer.
15.      The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any person
         under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on the
         condition that the defendant notify said parent or legal guardian of the defendant's conviction in the instant offense.
         This provision does not encompass persons under the age of 18, such as waiters, cashiers, ticket vendors, etc., whom
         the defendant must interact with in order to obtain ordinary and usual commercial services.
16.      The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or
         organization that causes the defendant to regularly contact persons under the age of 18.
17.      Defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose principal
         product is the production or selling of materials depicting or describing “sexually explicit conduct,” as defined at
         18 U.S.C. § 2256(2).

                     Residence
18.      Defendant shall not reside within direct view of school yards, parks, public swimming pools, playgrounds, youth
         centers, video arcade facilities, or other places primarily used by persons under the age of 18. Defendant’s
         residence shall be approved by the Probation Officer, and any change in residence must be pre-approved by the
         Probation Officer. Defendant shall submit the address of the proposed residence to the Probation Officer at least
         ten days before any scheduled move.

                     Employment
19.      The defendant's employment shall be approved by the Probation Officer, and any change in employment must be
         pre-approved by the Probation Officer. The defendant shall submit the name and address of the proposed employer
         to the Probation Officer at least ten (10) days prior to any scheduled change.
        The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health
evaluations or reports, to the treatment provider. The treatment provider may provide information (excluding the
Presentence report), to State or local social service agencies (such as the State of California, Department of Social Service),
for the purpose of the client's rehabilitation.
         The Court recommends that the defendant be evaluated for participation in the Bureau of Prisons’ RDAP Program.
       The Court recommends that the defendant be designated to a Bureau of Prisons’ facility in Southern California and
has no objection to Terminal Island.
         Counsel for the government motions the Court to dismiss all remaining counts. Motion granted.
         Defendant’s bond is ordered exonerated.
         Defendant is advised of his right to appeal.
         Defendant is remanded to the custody of the U.S. Marshal’s office. Remand order issued in Court.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 30, 2021
            Date                                                  R. Gary Klausner, United States District Judge


 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            November 30, 2021                               By    /s/ Sharon L. Williams
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).



                                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE



                                              While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant must not commit another federal, state, or local                    9.     The defendant must not knowingly associate with any persons engaged
       crime;                                                                                   in criminal activity and must not knowingly associate with any person
                                                                                                convicted of a felony unless granted permission to do so by the probation
 2.    The defendant must report to the probation office in the federal                         officer. This condition will not apply to intimate family members, unless
       judicial district of residence within 72 hours of imposition of a                        the court has completed an individualized review and has determined
       sentence of probation or release from imprisonment, unless                               that the restriction is necessary for protection of the community or
       otherwise directed by the probation officer;                                             rehabilitation;

 3.    The defendant must report to the probation office as instructed by                10.    The defendant must refrain from excessive use of alcohol and must not
       the court or probation officer;                                                          purchase, possess, use, distribute, or administer any narcotic or other
                                                                                                controlled substance, or any paraphernalia related to such substances,
 4.    The defendant must not knowingly leave the judicial district                             except as prescribed by a physician;
       without first receiving the permission of the court or probation
       officer;                                                                          11.    The defendant must notify the probation officer within 72 hours of being
                                                                                                arrested or questioned by a law enforcement officer;
 5.    The defendant must answer truthfully the inquiries of the probation
       officer, unless legitimately asserting his or her Fifth Amendment                 12.    For felony cases, the defendant must not possess a firearm, ammunition,
       right against self-incrimination as to new criminal conduct;                             destructive device, or any other dangerous weapon;

 6.    The defendant must reside at a location approved by the probation                 13.    The defendant must not act or enter into any agreement with a law
       officer and must notify the probation officer at least 10 days before                    enforcement agency to act as an informant or source without the
       any anticipated change or within 72 hours of an unanticipated                            permission of the court;
       change in residence or persons living in defendant’s residence;
                                                                                         14.    The defendant must follow the instructions of the probation officer to
 7.    The defendant must permit the probation officer to contact him or                        implement the orders of the court, afford adequate deterrence from
       her at any time at home or elsewhere and must permit confiscation                        criminal conduct, protect the public from further crimes of the
       of any contraband prohibited by law or the terms of supervision and                      defendant; and provide the defendant with needed educational or
       observed in plain view by the probation officer;                                         vocational training, medical care, or other correctional treatment in the
                                                                                                most effective manner.
 8.    The defendant must work at a lawful occupation unless excused by
       the probation officer for schooling, training, or other acceptable
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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               The defendant must also comply with the following special conditions (set forth below).

               STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS



        The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or restitution is paid in full before the
 fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to penalties for default and delinquency under 18 U.S.C. § 3612(g).
 Interest and penalties pertaining to restitution, however, are not applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs
 must be paid by certified check or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:



       United States District Court, Central District of California

       Attn: Fiscal Department

       255 East Temple Street, Room 1178

       Los Angeles, CA 90012



 or such other address as the Court may in future direct.



            If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the balance as directed by the United
 States Attorney’s Office. 18 U.S.C. § 3613.



              The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or residence address until all fines,
 restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).



            The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the defendant’s economic
 circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k). The Court may also accept such notification from the
 government or the victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also
 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. § 3563(a)(7).



            Payments will be applied in the following order:




                        1. Special assessments under 18 U.S.C. § 3013;

                        2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United

                     States is paid):

                                    Non-federal victims (individual and corporate),

                                    Providers of compensation to non-federal victims,

                                    The United States as victim;

                        3. Fine;

                        4. Community restitution, under 18 U.S.C. § 3663(c); and

                        5. Other penalties and costs.




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                                                                                       RETURN



 I have executed the within Judgment and Commitment as follows:

 Defendant delivered on                                                                                            to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                                            to

      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.



                                                                                      United States Marshal



                                                                               By
              Date                                                                    Deputy Marshal




                                                                                    CERTIFICATE



 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my legal custody.


                                                                                      Clerk, U.S. District Court



                                                                               By
              Filed Date                                                              Deputy Clerk




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                                                                  FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.



           These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.




           (Signed)

                      Defendant                                                           Date




                      U. S. Probation Officer/Designated Witness                          Date




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